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    EXHIBIT 8
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From:            Samuel Kaplan
To:              Fisher, Catherine (BOS); Mariah Noah; Maxwell Pritt; Jack F. Dew
Subject:         [Ext] RE: SPARTA v. PGIC, No. 21-11205-FDS
Date:            9/4/2023 3:07:00 PM
CC:              Carroll, James R (BOS); Clark, Christopher G (BOS)
BCC:

Message:
Hi Catherine,

We are able to accept service of the depositions. However, as discussed previously and agreed upon by
the parties, there is no basis at this stage for noticing depositions of Steve Menzies and Alan Quasha or
of Applied Underwriters (AUI) and North American Casualty. Neither Mr. Menzies and Mr. Quasha has
unique knowledge of any issue in this case, and so deposing them would be unduly duplicative and a
waste of resources. Further, both are apex depositions requiring at a minimum a showing that they
have unique knowledge before noticing the deposition. Conducting separate 30(b)(6) depositions of AUI
and NAC also would be a waste of both parties’ resources inasmuch as the topics largely overlap across
the notices, and the companies do not have unique knowledge on these subjects, would designate the
same witness to testify about them (Jeff Silver), and would rely on the same materials to prepare. To
the extent that there are topics in the AUI or NAC notice that are not in the PIC notice, Plaintiff can
include them as part of a 30(b)(6) notice to PIC. While the topics may be objectionable for other reasons
(as to which PIC reserves all rights), PIC would not object on the grounds that the notice should have
been directed to AUI and NAC and would prepare for the deposition using the same materials that an
NAC or AUI designee would use. Happy to discuss further when we meet and confer later in the week
on the various issues we have identified related to SPARTA’s discovery responses.

As to dates for the PGIC 30(b)(6) and proposed Silver depositions, we have conflicts during the proposed
September 25-27 dates but would be available the next week (October 2-6).

Best,

Sam


Samuel C. Kaplan
Partner
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(t) +1 202 274-1163
skaplan@bsfllp.com


From: Fisher, Catherine <Catherine.Fisher@skadden.com>
Sent: Friday, September 1, 2023 9:19 AM
To: Mariah Noah <mnoah@bsfllp.com>; Samuel Kaplan <skaplan@bsfllp.com>; Maxwell Pritt
<mpritt@BSFLLP.com>; Jack F. Dew <jdew@cohenkinne.com>
Cc: Carroll, James R <James.Carroll@skadden.com>; Christopher Clark




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<Christopher.Clark@skadden.com>
Subject: SPARTA v. PGIC, No. 21-11205-FDS

All,

Attached please find Plaintiff SPARTA Insurance Company’s renewed notices of depositions of the
following entities and individuals:
     1. Defendants Pennsylvania General Insurance Company
     2. Steven Menzies
     3. Alan Quasha
     4. Jeffrey Silver
     5. Applied Underwriters, Inc.
     6. North American Casualty Company

You previously informed us that you were representing the non-party entities and individuals listed
above as well as PGIC. Please confirm whether that is still the case, and whether you can accept service
of deposition subpoenas on their behalf.

Best,

Catherine

Catherine Fisher
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Further information about the firm, a list of the Partners and their professional qualifications will
be provided upon request.

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